                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:15-cr-16-HSM-SKL
 v.                                                   )
                                                      )
 TESSI JAA MOHR                                       )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the thirteen count

 Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One of

 the Indictment, that is of conspiracy to distribute a mixture and substance containing a detectable

 amount of methamphetamine, a Schedule II controlled substance in violation of 21 U.S.C. §§ 846,

 841(a)(1), and 841(b)(1)(C); (3) adjudicate Defendant guilty of the lesser offense of the charge in

 Count One of the Indictment, that is of conspiracy to distribute a mixture and substance containing

 a detectable amount of methamphetamine, a Schedule II controlled substance in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C); (4) defer a decision on whether to accept the amended

 plea agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing in

 this matter [Doc. 125]. Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation

 [Doc. 125] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to the lesser offense of the charge in Count One of the



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             Indictment, that is of conspiracy to distribute a mixture and substance containing a

             detectable amount of methamphetamine, a Schedule II controlled substance in

             violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Indictment, that is of conspiracy to distribute a mixture and substance

             containing a detectable amount of methamphetamine, a Schedule II controlled

             substance in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

       (4)   A decision on whether to accept the amended plea agreement is DEFERRED until

             sentencing; and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on November 16, 2015 at 9:00 a.m. [EASTERN] before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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